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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
UNITED STATES OF AMERICA

                        -v.-                                      10 CR 433 (KAM)

JONATHAN BRAUN,

                                       Defendant.
--------------------------------------------------------------X




                   MEMORANDUM IN SUPPORT OF
           28 U.S.C. § 2255 MOTION TO VACATE SENTENCE




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UNITED STATES OF AMERICA

                        -v.-                                      10 CR 433 (KAM)

JONATHAN BRAUN,

                                       Defendant.
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                    MEMORANDUM IN SUPPORT OF
            28 U.S.C. § 2255 MOTION TO VACATE SENTENCE

                                       STATEMENT

         Jonathan Braun moves to vacate his 10-year sentence under 28

U.S.C. § 2255 based on ineffective assistance of counsel. The Second

Circuit has stayed Braun’s sentencing appeal pending this motion’s filing

and disposition.1

         Pleading guilty to marijuana importation and money laundering

conspiracies – and timely accepting full responsibility for his role in those

crimes – Braun




1   See Ex. A.
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                                                                     .2

         In imposing the 10-year sentence – unusually heavy for a

                             – this Court relied significantly on a pair of

anonymous letters, docketed under seal in Aug. 2018 and April 2019,3

accusing Braun of grave personal and professional misconduct while

released on bail awaiting sentencing.4

         But as the accompanying sworn statements attest, defense counsel

– and thus Braun himself – were unaware of the anonymous letters prior

to the May 28, 2019 sentencing hearing. And upon their revelation at the

hearing, counsel failed to request the letters’ production, object to their

consideration or seek a continuance to investigate and confront their

central allegations of misconduct. Had counsel taken the latter steps,

documentary evidence shows, those allegations – which the Court found




2   See Ex. B.

3   ECF Nos. 146, 154-55.
4
    See Sent. Tr. (Ex. C) 11-15, 33.



                                         2
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“very concerning” and “very serious”5 – would’ve been readily discredited

instead of going entirely unrebutted.

      Counsel’s deficient performance thus fueled a sentence based on

materially false information, violating Braun’s Fifth and Sixth

amendment rights to due process and effective assistance of counsel. This

Court therefore must vacate the 10-year sentence previously imposed

and sentence Braun anew.

                        RELEVANT BACKGROUND

Braun’s

      By the time of Braun’s oft-adjourned sentencing in May 2019, his

case had been pending almost nine years to the day – largely because of

his                                                                         . As the




5Ibid. 11, 33; see also Court Closure Tr. (Ex. D) 5 (“anonymous letters from detractors
… raise very serious concerns”).

                                          3
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                     .6

The Court’s Reliance on Anonymous Allegations

         In a preliminary proceeding directly before the sentencing hearing,

the Court announced that it had received “anonymous letters” from

people “who have issues with Mr. Braun, who have felt that he

mistreated them or has treated them harshly or has done things that

some of these letter writers claim are illegal in terms of threatening


6   Ex. B at 3.


                                       4
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behavior.”7 These “anonymous letters from detractors,” the Court added

ominously, “raise[d] very serious concerns” about Braun’s “activities in

the community since he was released on bail.” 8

             Early in the sentencing hearing, the Court explained that it found

two of the letters’ anonymous allegations especially troubling. “[V]ery

concerning,” the Court said, was a “lawsuit by an individual who alleges

that just this past summer, at an engagement party, Mr. Braun

intentionally shoved him off a two-story balcony and he sustained very

serious injury.”9 If “those allegations were true,” the Court asked

rhetorically, wouldn’t “pushing someone off a balcony” amount to

“additional” uncharged “criminal conduct”?10 “It’s an allegation,” the

Court acknowledged, “but it’s an allegation that resulted in a lawsuit.”11

             Another pressing “concern[,]” the Court indicated, was a second suit

claiming that Braun had threatened a rabbi with physical and



7   Ex. D 4-5.

8
     Ibid. 5.

9   Ex. C 11.

10   Ibid. 12.

11   Ibid.


                                           5
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reputational harm – by “community” exposure and “embarrass[ment]” as

a lying thief – over a delinquent business debt.12

Counsel Mishandle the Anonymous Letters

         The Court’s receipt of anonymous letters against Braun came as an

avowed surprise to defense counsel and their client. Though docketed

under seal in Aug. 2018 and April 2019, the letters’ existence eluded

Braun’s lead counsel of record prior to sentencing, chiefly because copies

had been forwarded to an email address he doesn’t normally use.13

         Unaware of the letters’ existence, lead counsel never disclosed it to

Braun or reviewed them with him. Nor did counsel discuss with Braun

the letters’ contents or a potential response. As a result, Braun was

similarly unaware, prior to sentencing, of any anonymous letters filed

against him with the Court. 14

         Braun’s May 28, 2019 sentencing was to take place while lead

counsel was honeymooning abroad. But despite the case’s nine-year

history and a string of prior sentencing postponements, lead counsel did



12   Ibid. 12-14.

13   Meringolo Dec. ¶¶ 4-5.

14   Ibid. ¶ 6; Braun Aff. ¶ 3.

                                        6
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them. As a result, Braun was unable to contest or counter the anonymous

allegations, leaving them wholly unrefuted.17

The Anonymous Allegations Inform Braun’s 10-Year Sentence

         After “carefully” and “thorough[ly]” investigating the balcony and

rabbi allegations for almost a year, the government advised the Court

that it had “nothing further” to “present” that would “either be additional

criminal conduct or otherwise materially impact sentencing…. The FBI

has not gathered any additional fact … that we’d be prepared to present

[at] a Fatico hearing … or otherwise proceed in a different manner….

[T]he [g]overnment isn’t prepared … to say that he has done something

that merits a Fatico hearing, that merits additional reporting to the

Court … to consider as part of sentencing, or otherwise consider other

options with regard to                                     .”18




17   Braun Aff. ¶¶ 3-4; Cappellino Dec. ¶ 9.

18
   Ex. C 11-12, 14-15; see also Ex. B. 4 (several-month investigation yields
“[in]sufficient information to conclude that Mr. Braun has committed additional
criminal conduct of which the court should be advised, nor that he has committed any
additional conduct that would constitute                                          ”);
Cappellino Dec. ¶ 6.

                                               8
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          But despite the prosecutor’s repeated disclaimers, the Court went

 on to underline the anonymous balcony and rabbi allegations in handing

 down Braun’s 10-year sentence:

                         As I noted and we discussed previously, I
                  received anonymous reports of very serious
                  allegations regarding Mr. Braun’s behavior in this
                  [private commercial financing] business and his
                  relationship to the business. There’s, again,
                  anonymous reports that he has an interest in the
                  business. His wife, I believe, also works in a
                  similar but not the same business. And a recently
                  filed lawsuit in Richmond County alleges that he
                  physically attacked someone in July of 2018 by
                  pushing him off a one-story deck at an engagement
                  party.

                        Finally, another lawsuit, in Dutchess
                  County, alleges that he threatened physical
                  violence and reputational harm against a person
                  from whom the [d]efendant was attempting to
                  collect a debt in October 2017 to December 2017
                  and June 2018.19

 Documentary Evidence Belies the Anonymous Balcony and
 Rabbi Allegations

          As Braun’s accompanying affidavit and its annexed exhibits

 establish, the anonymous balcony and rabbi allegations are false.




 19   Ex. C 33.



                                          9
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          About a month before the July 2018 engagement party in question,

 Braun’s first cousin by marriage, Matias Fortgang, asked Braun to lend

 him a large sum of money, around $60,000-$70,000. Braun declined.

 When Braun rebuffed his renewed request at the party, Fortgang became

 physically and verbally abusive, aggressively confronting and loudly

 berating Braun. In the course of his belligerent ranting, Fortgang fell

 backward off a one-story deck, tumbling some six feet to the ground. 20

          In a consensually recorded call with Braun’s father shortly after his

 fall, Fortgang more than doubled his financial demand, threatening to

 “GO[] TO THE COPS” unless he received $150,000 overnight. Half an

 hour later he sent wiring instructions by text message. Fortgang

 perpetuated his extortion attempt a few days afterward, repeating his

 demand to Braun’s wife in another recorded call. 21

          Treatment records from Staten Island University Hospital –

 produced informally by Fortgang’s civil counsel – confirm Braun’s

 account of the party incident and further dispel the anonymous




 20   Braun Aff. ¶ 6 & Ex. A.

 21   Ibid. ¶ 7 & Ex. B-C.



                                        10
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 allegations. Collectively, the records indicate that Fortgang “[f]ell” from

 a “one-story balcony” and landed on “an air conditioner.” 22

           And far from suffering debilitating bodily injury, recent video and

 photographic evidence shows Fortgang fully ambulatory, performing

 physical activity such as dancing at a wedding, pulling garbage cans and

 lifting trash bags. Finally, as for the spurious civil suit Fortgang filed

 against Braun, his failure to post a meager $500 court bond has put it on

 indefinite hold.23

           Then there are the anonymous claims about the rabbi and his

 delinquent business debt. Court records demonstrate that the creditor –

 Richmond Capital Group, LLC, not Braun personally to the extent the

 anonymous letters suggest otherwise – resorted to lawful process to

 collect the debt, obtaining a $14,662.77 “judgment by confession.” The

 rabbi and his congregation subsequently paid the judgment in “full,”

 thereby acknowledging the debt was legitimately owed, and withdrew




 22   Ibid. ¶ 8.

 23   Ibid. ¶ 9 & Ex. D-E.


                                        11
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 their motion to vacate the judgment. Those steps resolved the dispute

 between the parties and ended the litigation that ensued. 24

                                      ARGUMENT

                 DEFENSE     COUNSEL    PERFORMED
                 DEFICIENTLY    IN    FAILING   TO
                 ADEQUATELY     MONITOR     BRAUN’S
                 DOCKET, KEEP ABREAST OF KEY CASE
                 DEVELOPMENTS       OR     RESPOND
                 APPROPRIATELY       WHEN      THE
                 ANONYMOUS LETTERS CAME TO LIGHT,
                 YIELDING A SENTENCE TAINTED BY
                 MATERIALLY FALSE INFORMATION

          Criminal defendants are constitutionally entitled to the “Assistance

 of Counsel,” including a corollary right to effective assistance that extends

 through sentencing.25 Those guarantees are breached when counsel

 render deficient performance – meaning objectively unreasonable

 representation falling below prevailing professional norms – that causes

 prejudice – meaning a reasonable probability that, but for counsel’s

 unprofessional errors, the result would have been different. 26 Both

 familiar Strickland prongs are satisfied here.


 24   Ibid. ¶ 10 & Ex. F.

  U.S. Const. amend. VI; Strickland v. Wash., 466 U.S. 668, 687-88 (1984); Lafler v.
 25

 Cooper, 566 U.S. 156, 164-65 (2012).

 26
      Lafler, 566 U.S. at 162-63; Strickland, 466 U.S. at 687-88.

                                             12
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       By their own sworn admission, Braun’s attorneys performed

 deficiently in myriad ways:

              1.     Lead counsel failed to adequately monitor Braun’s

 docket or keep abreast of important case developments, leaving him and

 his client unaware that anonymous letters alleging serious misconduct

 by Braun had been filed with the Court.27

              2.     Though sentencing in the nine-year-old case had been

 postponed numerous times, lead counsel failed to seek a further

 adjournment to accommodate his unavailability. Instead he delegated

 the critical sentencing hearing              to a young associate attorney

 substantially unfamiliar with the case and similarly unaware of the

 anonymous letters.28




 27Compare ante 6-7 & nn. 13-14, 17 and sources cited with, e.g., ECF Rule #9 (“It
 remains the duty of the attorney for a party to review regularly the docket sheet of
 the case”), quoted at https://ecf.nysd.uscourts.gov/cgi-bin/login.pl (as visited 10/2/19)
 (internal quotation marks omitted).

 28Compare ante 6-7 & nn. 15-16 and sources cited and ECF No. 161 (associate
 attorney appearing just four days before sentencing) (5/24/19) with Lafler, 566 U.S.
 at 164-65 (counting sentencing among the “critical stages of a criminal proceeding”;
 “any amount of additional jail time has Sixth Amendment significance”) (citation,
 internal quotation marks and brackets omitted) (emphasis supplied).



                                           13
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                 3.     When the letters’ existence and “very concerning”29

 allegations emerged at sentencing, the junior associate failed to respond

 or confront them – appropriately or at all. Most conspicuous, she

 neglected to request copies of the letters for examination, object to their

 consideration or seek a continuance to explore and address their

 veracity.30

           Strickland’s prejudice prong is also met. Though the anonymous

 balcony and rabbi allegations were easily discredited, 31 counsels’ assorted

 lapses cost Braun a chance to impugn their accuracy, leaving it

 completely unchallenged.32 In consequence, the Court based Braun’s

 sentence partly on materially false information,33 denying him due

 process. As the Second Circuit reaffirmed just last month, “[d]efendants

 have a constitutional right to be sentenced based on accurate information




 29   Ex. C 11, 14.

 30 Compare ante 7-8 & n.17 and sources cited with Strickland, 466 U.S. at 691
 (“counsel has a duty to make reasonable investigations or to make a reasonable
 decision that makes particular investigations unnecessary”).

 31
      See ante 9-12 & sources cited.

 32   See ibid. 8 & n.17 and sources cited.
 33
      See ibid. 9 & n.19 and source cited.

                                              14
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 responsibility for his offense.”46 He




                                                                      . 48 He

 scrupulously “complied with all Court-ordered conditions of [pretrial]

 release.”49 And on a personal level, he started a family and became a

 “loving father,” actively “involved” in his three young “children’s lives.”50

 In short, Braun has “changed his life” and grown into a “responsible and




 46   Ibid. 19.

 47




                                                      .

 48   See ante 3-4 & n.6 and source cited.

 49   PSR ¶ 4.

 50   Ex. C 30-31.


                                             17
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 determined” man – markedly different from the immature “young” adult

 who ran afoul of the law nine years ago and more.51

              As for the operation’s sophistication and scale and Braun’s

 leadership role,52 the Guidelines already take those factors into

 account.53 And far from “distinguishing”54 Braun from other “narcotics

 traffickers,” 55 his dated resort to “violence and threats of violence” 56 –

 however indefensible – was not uncommon in a business where guns are

 considered “tools of the trade.” 57

              The upshot of the last two paragraphs? The anonymous allegations’

 influence on the 10-year sentence ultimately imposed – occasioned by




 51   Ibid.

 52   See ibid. 28-29, 36.
 53
      See PSR ¶¶ 25-26, 28.

 54   Ex. C 29; see also id. 36.

 55   Ibid.

 56   Ibid.

  U.S. v. Ryan, 935 F.2d 40, 43 (CA2 2019) (citation and internal quotation marks
 57

 omitted).



                                          18
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 defense counsels’ gaffes in handling them – seems apparent if not

 inescapable.58

                                  CONCLUSION

       The Court should vacate Braun’s 10-year prison term and sentence

 him anew.

 Dated:       New York, NY
              Oct. 3, 2019

                                               Respectfully submitted,



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                                               Counsel for Jonathan Braun




 58See Ex. C 11 (Court stressing that party incident occurred “just this past summer”);
 Lafler, 566 U.S. at 164-65 (“any amount of additional jail time has Sixth Amendment
 significance”) (citation, internal quotation marks and brackets omitted) (emphasis
 supplied).

                                          19
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                         EXHIBIT A
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                         EXHIBIT B
Case 1:10-cr-00433-KAM Document 184 Filed 12/06/19 Page 24 of 84 PageID #: 1110
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                         EXHIBIT C
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                                                                                            1


                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF NEW YORK

                                 -   -    -    -   -   X


      UNITED STATES OF AMERICA,                                  10-CR-433 (KAM)



               -against-                                         United States Courthouse
                                                                 Brooklyn, New York


      JONATHAN BRAUN,                                            Tuesday, May 28, 2019
                                                                 11: 00 a. m.
                    Defendant.



                -    -   -   -   -   -    -    -   - x


                TRANSCRIPT OF CRIMINAL CAUSE FOR SENTENCING
                   BEFORE THE HONORABLE KIYO A. MATSUMOTO
                     UNITED STATES DISTRICT COURT JUDGE

                                         A P P E A R A N C E S:

     For the Government: RICHARD P. DONOGHUE, U. S. ATTORNEY
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                              271 Cadman Plaza East
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                         BY:  CRAIG HEEREN,
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                                              BY: ANJELICA BIANCA CAPPELLINO, ESQ.




     Court Reporter:                     LI NDA A. MARI NO, OFFICIAL COURT REPORTER
                                         225 Cadman Plaza East/Brooklyn, NY 11201
                                         1 indacsr@aol. com

     Proceedings recorded by mechanical stenography, transcript
     produced by Computer-Aided Transcription.



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                 THE COURTROOM DEPUTY:        This is criminal cause for

     sentencing, 10-CR-433, USA v. Jonathan Braun.

                 Will the Government's attorney please state your

     appearance?

                 MR. HEEREN:    Craig Heeren on behalf of the United

     States.    Good morning again, your Honor.

                 THE COURT:    Good morning.

                 MS. CAPPELINO:     Angelica Cappelino on behalf of

     Jonathan Braun.

                 THE COURT:    Good morning.

                 And good morning, Mr. Braun.

                 THE DEFENDANT:     Good morning.

                 THE COURT:    And for the record again, do you speak

     and understand English without any difficulty?

                 THE DEFENDANT:     Yes, I do.

                 THE COURT:    Please raise your right hand and take an

     oath to either affirm or swear that you will tell the truth.

                 (Defendant sworn or affirmed. )

                 THE COURT:    Just to be clear, the Government did not

     submit an order for me to accept the guilty plea that

     Mr. Braun entered before Judge Pohorelsky, did it?

                 MR. HEEREN:    That's right, your Honor.       I'm sorry, I

     forgot to include it.

                 THE COURT:    I'm prepared to make a statement here

     that I have reviewed the transcript of Mr. Braun's guilty plea



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     as well as the consent that he signed to have Judge Pohorelsky

     hear his guilty plea on November 3, 2011, and I do accept

     Mr. Braun's guilty plea to Count One and Count Six of the

     superseding indictment.

                 Mr. Braun, as you can see, we have a court reporter

     here, who is making a transcript of today's proceedings.            That

     transcript will be part of the official judicial record in

     this case if you choose to exercise your appellate right.

                 In preparation for your sentencing today, I've

     reviewed the superseding indictment, the transcript of your

     plea proceeding before Judge Pohorelsky on November 3, 2011;

     the preliminary order of forfeiture; the February 28, 201 8,

     presentence investigation report; the February 28, 2018,

     Probation Department sentencing recommendation; the July 24,

     2018, addendum to the presentence report; as well as

     Mr. Braun's sentencing memorandum and the numerous letters of

     support that were attached to his submission and additional

     submissions from Mr. Braun's counsel; and the Government's

     sealed sentencing memorandum; as well as numerous anonymous

     submissions by members of the public regarding Mr. Braun's

     sentencing.

                 Have I overlooked any submissions?

                 MS. CAPPELINO:     No, your Honor.

                 MR. HEEREN:    No, your Honor.

                 THE COURT:    I'd like to confirm that Mr. Braun is a



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     United States citizen, so we need not address ICE notification

     or the likelihood or certainty of removal; is that correct?

                 MR. HEEREN:    That's the Government's understanding,

     yes.

                 MS. CAPPELINO:     Yes, your Honor.

                 THE COURT:    Thank you.

                 Mr. Braun, as you know, you have a right to counsel

     throughout these proceedings.

                 Are you satisfied with your counsel?

                 THE DEFENDANT:     Yes.

                 THE COURT:    And have you discussed today's

     sentencing proceedings as well as all of the submissions

     submitted in relation to your sentencing?

                 THE DEFENDANT:     Yes, your Honor.

                 THE COURT:    Are there any unresolved conflicts,

     contentions, motions, or other issues that I should address

     between Mr. Braun and his counsel before we proceed?

                 THE DEFENDANT:     Not at the moment.

                 THE COURT:    Mr. Braun does appear to be fully aware

     and alert and following these proceedings closely.

                 Does defense counsel agree with that observation?

                 MS. CAPPELINO:     Yes, your Honor, I do.

                 THE COURT:    Do you know of any reason why we should

     not proceed with your client's sentencing today?

                 MS. CAPPELINO:     No, I do not.



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                 THE COURT:    You may also remain seated when you

     address me, if it's easier.

                 MS. CAPPELINO:     Thank you.

                 THE COURT:    I want to confirm that there are no

     victims associated with Mr. Braun's offense that would be

     entitled to victim notification or restitution; is that

     correct?

                 MR. HEEREN:    That is correct, your Honor.

                 THE COURT:    Mr. Braun, have you read all of the

     submissions by the Government and your attorney and Probation

     regarding your sentencing here today?

                 THE DEFENDANT:     Yes, I did, your Honor.

                 THE COURT:    Did you have any difficulty

     understanding those submissions?

                 THE DEFENDANT:     No.

                 THE COURT:    Did you have a chance to discuss all of

     those submissions with your lawyer.

                 THE DEFENDANT:     I did so.

                 THE COURT:    Are you ready to be sentenced?

                 THE DEFENDANT:     I am.

                 THE COURT:    Mr. Braun, as you know, you entered a

     plea of guilty on November 3, 2011.         I have reviewed that

     transcript.

                 You may recall that Judge Pohorelsky placed you

     under oath and asked you questions about your understanding of



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     the charge to which you pled guilty, the sentencing exposure

     that you face as a result of your guilty plea, as well as

     whether any threats or promises were made to induce you to

     plead guilty.     You were also asked to state what you did in

     connection with each of the counts to which you pled guilty

     specifically, Counts One and Six.

                 Were the statements that you made to the judge on

     that date true?

                 THE DEFENDANT:     Yes, they, in fact, were.

                 THE COURT:    Do you know of any reason why your plea

     should not be considered valid?

                 THE DEFENDANT:     No.

                 THE COURT:    Do you wish to dispute or contest your

     plea of guilty?

                 THE DEFENDANT:     No, I do not.

                 THE COURT:    I've reviewed the transcript of the plea

     hearing and found, as Judge Pohorelsky did when he recommended

     that I accept Mr. Braun's plea to Counts One and Six, that his

     plea of guilty was knowing and voluntary and based upon a full

     understanding of his rights and the consequences of his plea

     and that there was a factual basis for his plea of guilty to

     Counts One and Six, which I have accepted.          That is to the

     superseding indictment.

                 Count One charges that between November 1 , 2007, and

     May 26, 2010, Mr. Braun conspired with others to import a



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     controlled substance into the United States from a place

     outside which involved 1, 000 kilograms or more of marijuana in

     violation of 21 U. S. Code Sections 952, 960 (a) (1 ) , 963, and

     960(b) (1 (G) .

                 Count Six charges that between November 1 , 2007, and

     May 26, 2010, Mr. Braun conspired with others to conduct

     financial transactions affecting interstate and foreign

     commerce which involved the proceeds of marijuana trafficking,

     in violation of 21 U. S. Code Sections 841 (a) (1) , 841(b) (1) (A)

      (vii) , 841(b) (1) (B) (vii) , 841 (b) (1) (C) , 846, 952 (a) , 960

      (a) (1 ) , 960(b) (1) (G) , 960(b) (3) , and 963.

                 Mr. Braun conducted these transactions knowing that

     the property involved in the financial transactions

     represented the proceeds of unlawful narcotics trafficking,

     with the intent to promote the carrying on of narcotics

     trafficking, contrary to 18 U. S. Code Section

     1956(a) (1) (A) (i) , and knowing that the transactions were

     designed to conceal and disguise the nature, location, source,

     ownership, and control of the proceeds of the trafficking,

     contrary to 18 United States Code Section 1956(a) (1) (B) (i) .

                 Count Six also charges that Mr. Braun conspired with

     others to transport, transmit, and transfer monetary

     instruments and funds from a place in the United States or

     outside the United States to and through Canada, with the

     intent to promote the carrying on of narcotics trafficking, in



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     violation of 18 U. S. Code Section 1956(a) (2) (A) , knowing that

     the monetary instruments and funds involved in the

     transportation, transmission, and transfer represented the

     proceeds of some form of unlawful activity, and knowing that

     the transportation, transmission, and transfer were designed

     to avoid transaction reporting requirements, in violation of

     18 U. S. Code section 1956(a) (2) (B) (2) .

                  Now, sir, you have the right to have what's called a

     Fatica fact-finding hearing,          which is a hearing at which the

     parties may offer evidence relevant to sentencing.           That

     generally comes up when there's some dispute, but it is

     something you're entitled to have.

                  Would you like to have a fact-finding hearing

     pursuant to the Fatica case?

                  You have given up your right to such a hearing

     regarding the quantity of marijuana to be used in calculating

     your sentence, and that was during your November 3, 2011,

     plea.    But you're welcome to have such a hearing if you'd

     1 ike.

                  Would you like such a hearing?

                  THE DEFENDANT:     No.

                  THE COURT:   You also have a right to make a personal

     statement.     I don't believe there was a written statement in

     the submissions that were provided to the Court regarding your

     sentencing, but if you'd like to be heard at this time, I'm



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     happy to hear from you.

                 THE DEFENDANT:     Your Honor, I just wanted to let you

     know and the Court know that I'm really sorry for my

     wrongdoings in the past, and I've changed a whole lot of bit

     since then and I have many, many reasons to continue to do

     good in the future in my current lifestyle.

                 I appreciate it.

                 THE COURT:    I would say that certainly the letters

     that you submitted speak about the transformation or how

     you've changed your life since the dates alleged in the

     superseding indictment, and we'll address that in a moment.

                 I think that is all a consideration that I've taken

     seriously, given that you have a family and community that

     supports you and they speak well of you and how you've made

     efforts to get on a law-abiding path.

                 So, thank you for your statement.

                 Does the defense attorney wish to be heard.

                 MS. CAPPELINO:     I'll be very brief, your Honor.        I

     know your Honor read the multiple submissions.

                 I'll just note that Mr. Braun was arrested almost

     nine years to the day.       He was 27 years old at the time.       Now

     he stands before you at age 36, a completely different man.

     He's now a father to three young children, a husband, and a

     successful business person.

                 This has been a long road.       He was in prison for



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     about 20 months pending bail.         He's been on house arrest for

     quite a bit of time, five years.          He's been compliant

     throughout the entire time.         He really wants the opportunity

     to continue on this path, to continue to be an exemplary

     citizen, and a community member.

                 So, we respectfully ask your Honor to consider those

     circumstances.     Thank you.

                 THE COURT:    I    think the record reflected that he was

     in custody for 16 or 17 months, if I'm not mistaken.            It

     wasn't 20 months.

                 MS. CAPPELINO:       Excuse me, your Honor, I'm sorry.

                 THE COURT:    I have the dates, if anyone needs

     clarification.     I'll address that now since there seems to be

     a disconnect between what Probation has reported and what

     Mr. Braun's counsel has stated.

                 MS. CAPPELINO:       I apologize, I'm probably off by two

     months.    I'll adopt whatever is in the PSR.

                 THE COURT:    Let's make it clear for the record.         He

     was arrested, after fleeing justice, on May 26, 2010 and he

     was released on November 4, 2011.          He was in custody for 17

     months.

                 MS. CAPPELINO:       Thank you for clarifying, your

     Honor.

                 THE COURT:    Does the Government wish to be heard?

                 MR. HEEREN:       Briefly, your Honor.   Thank you.



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                  I just want to speak on an issue raised at the

     earlier proceeding, which is the additional conduct related to

     the Defendant that was raised both in public reporting as well

     as in some anonymous letters to the Court.

                  The Government obviously takes all of that very

     seriously, as we would do in any instance involving

     allegations or implications at least of crime of any sort.

     We've looked into it, we have been investigating it, and the

     Government's position at this time, based on the facts we've

     been able to gather, there's nothing further for the

     Government to the present to the Court that would either be

     additional criminal conduct or otherwise materially impact

     sentencing.

                  THE COURT:    Let me address some of these matters,

     since you brought it up.

                  There is a lawsuit by an individual who alleges that

     just this past summer, at an engagement party, Mr. Braun

     intentionally shoved him off a two-story balcony and he

     sustained very serious injury.        It's not clear whether the

     police were called.

                  But that is very concerning.        There's a lawsuit.

                  Have you spoken to that victim, the Plaintiff in

     that case?

                  MR. HEEREN:    Your Honor, I'm not sure if we

     specifically spoke to the victim.         The FBI has been



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     investigating that as well as the other allegation against

     him.

                  THE COURT:    Would you agree that if those

     allegations were true, it would be additional criminal

     conduct, pushing someone off a balcony?

                  MR. HEEREN:    Yes, your Honor.

                  THE COURT:    It's an allegation, but it's an

     allegation that resulted in a lawsuit.

                  MR. HEEREN:    Yes, your Honor, I think that would

     be -- I think it's likely that would be criminal conduct, yes.

                  THE COURT:    And the FBI is looking into it since

     last summer, but what?

                  MR. HEEREN:    The FBI has not gathered any additional

     fact such that we'd be prepared to present a Fatico hearing on

     this or otherwise proceed in a different manner at sentencing.

                  THE COURT:    Do you know if they've talked to the

     victim?

                  MR. HEEREN:    I don't, your Honor.

                  THE COURT:    There is also an affidavit that was

     submitted in a lawsuit that was filed.         Let me just get that

     for the record, Richmond Capita7 Group LLC, v. Congregation

     Shu7e,    Inc.,   d/b/a Congregation Shu7e and Avraham Lesches,

     L-E-S-C-H-E-S, filed in Dutchess County under Index No.

     2018-51838.

                  The affiant in that case states that Mr. Braun made



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     threats to him pursuant to a business transaction in which the

     Defendant fell behind in payments.         This was a rabbi of a

     congregation who borrowed money to make renovations to his

     shule.    And he received calls, as alleged in his affirmation

     under penalty of perjury, that Mr. Braun called and said:             I

     know everyone in your Chabad-Lubavitch community.           I'm going

     to come down there and beat the shit out of you in 770 Eastern

     Parkway so that people know you're a thief, liar, and

     dishonest.

                  Also, there are calls with representatives;

     specifically, Ms. Gregg, who works with Mr. Braun, or did at

     time, in which this individual attempted to work out a payment

     plan and, after that, in December 2017, received another

     threatening and harassing call in which Mr. Braun allegedly

     said:    I'm coming to Crown Heights.       I'm going to beat the

     shit out of you abdomen publicly embarrass you.           I will hang

     papers all over the lampposts in Crown Heights stating you are

     a liar and a thief.      I'm going to tell me you are running an

     illegal operation and a scam.

                  So, I don't know that I have to read further, but

     these were threats, alleged threats.

                  Another call in June of 2018, this is just last

     summer, in which Mr. Braun allegedly said, and I'm not going

     to quote all the vulgarities, but:         I'm going to make you

     bleed.    You're going to regret the day you met me.



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                  And he chastises this individual for sending a

     lawyer, who he refers to in derogatory terms, she's female:

     I'm going to make you suffer for every penny, et cetera.

                  So, these or concerns.

                  Did you investigate or speak to this individual?

                  MR. HEEREN:   Yes, we did, your Honor.       I don't know

     if that specific individual was spoken to.

                  The FBI, this was the primary focus of the

     investigation which took so long, the practices of the

     industry that Mr. Braun is in and the conduct that was alleged

     of him.

                  It's my understanding that several different

     individuals involved were interviewed.         I believe Mr. Lesches

     was interviewed; I'm not certain sitting here today.            I can

     check that for the Court, if you want.         I believe there was a

     fairly thorough investigation of that done.

                  It's obviously deeply troubling.       It's why the

     Government took it so seriously, these accusations against

     Mr. Braun.    Additionally, it's the -- we've met with Mr. Braun

     as well and spoken to him directly about the conduct, and he's

     obviously denied it.

                  So, we've done a fairly thorough investigation.          And

     at this point in time, your Honor, regardless of the fact that

     it's deeply troubling, the Government isn't prepared at this

     point, based on the facts that we've been able to gather, to



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     say that he has done something that merits a FaticD hearing,

     that merits additional reporting to the Court of those facts

     to consider as part of sentencing, or otherwise consider other

     options with regard to the agreement.

                  But we have investigated it carefully, your Honor.

                  THE COURT:    All right.

                  MR. HEEREN:    With regard to the rest of the

     sentencing, your Honor, I think the Government largely rests

     on our papers, which are under seal for the reasons given in

     the letter itself.

                  THE COURT:    All right.    Thank you.

                  Mr. Braun, as I noted, has the right to have

     friends, family, and supporters present in the courtroom.             I

     will assure those who did submit letters that I've read all of

     those letters and they certainly are encouraging in terms of

     validating Mr. Braun's statement here today that he has

     changed since the days when he was engaged in the activity

     that brought him before this court.

                  Is there anyone here that I should acknowledge,

     Mr. Braun?

                  MS. CAPPELINO:    No, your Honor, thank you.

                  THE COURT:    I'd like to just publicly thank all of

     those who took time out of their schedules to write letters

     stating that Mr. Braun is important to his family.           His

     parents speak lovingly of their son, his siblings also, his



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     wife, in-laws, friends, and members of his community.            So, I

     do appreciate the time that was taken to think about and write

     a letter on behalf of Mr. Braun.

                 Now, neither party has objected to the PSR's

     calculation of the guidelines calculation.          The Government

     noted in its sentencing submission that the total offense

     level estimated during the plea proceeding was two points

     lower than that calculated by the PSR, although it did not

     dispute the accuracy of the presentence report calculation.

     I'll just review those calculations now.

                 For violation of Title 21 U. S. Code Section 952 (a)

     and Title 18 U. S. Code Section 1956 (a) (1) (B) , the PSR

     calculated Mr. Braun's advisory adjusted offense level as 42

     and 44 respectively for Counts One and Six.          It then grouped

     the counts, pursuant to Guideline 301. 2 (c) .       The presentence

     report also applied an acceptance of responsibility reduction

     of three levels, resulting in a total offense level of 39.

                 The presentence report notes that Mr. Braun has a

     Criminal History Category of I, having no prior criminal

     connections.     A total offense level of 39 with a Criminal

     History Category of I yields a guideline imprisonment range of

     262 to 327 months.

                 Now, the additional enhancements have been added to

     the sentencing guidelines since the time of the offense of

     conviction.     If I were to use the current guidelines it would



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     create an ex post facto clause violation; therefore, I will

     use the guidelines in effect at the time of Mr. Braun's

     offense and not the 2018 guidelines.

                  So, for example, the current guidelines would add an

     enhancement for his use of violence during the course of this

     offense.     Although it does not factor into the guidelines

     calculation, it is information that I must consider and do

     consider.

                  So, under Guideline 1B1 . 11, I relied on the 2009

     guidelines, which were in effect at the time of Mr. Braun's

     offense.     I 've given respectful consideration to the 2009

     sentencing guidelines and compute Mr. Braun's offense level

     and adjustments as follows:

                  For a violation of 21 U. S. Code Section 952 (a) ,

     conspiracy to import marijuana, I considered guideline

     2D1. 1 (a) (5) .   Because Defendant's offense involved importation

     of at least 10, 000 but not more than 30, 000 kilograms of

     marijuana, Section 2D1. 1 (c) (2) establishes a base offense

     level of 36.

                  Because Mr. Braun unlawfully imported or exported a

     controlled substance under circumstances in which an aircraft

     other than a regularly scheduled commercial airline was used

     to import or export the controlled substance, there is an

     increase of two levels, pursuant to Section 2D1. 1 (b) (2) (A) .

                  And we'll talk about that in a minute, but Mr. Braun



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     used very sophisticated means to smuggle drugs into the United

     States, including using a Native American reservation, he used

     motor vehicles with hidden compartments, he used boats, and he

     used private aircraft.       So, he had access to airline pilots,

     boat captains, and people who were willing to drive cars with

     tracked devices to smuggle drugs into the United States.

                 Because Mr. Braun used this aircraft, he receives

     two additional points.

                 In addition, Mr. Braun was an organizer or leader of

     the criminal activity that involved five or more participants

     or was otherwise extensive.       Mr. Braun played an aggravating

     role in the offense, and there is an increase of four levels

     because he was a leader and this distinguishes him from many

     defendants I see who are not leaders but, rather, a lower

     level courier or a lower level distributor.          But he was at the

     top of this drug smuggling enterprise.

                 Now, the adjusted offense level that we calculate

     for Count One is 42.

                 For Count Six, which is a violation of 18 U. S. Code

     Section 1956 (a) (1) (B) , money laundering conspiracy, I

     considered Guideline 2s1. 1 (a) , which adopts the offense level

     for the underlining offense from which the laundered funds

     derived, and, therefore, establishes a base offense level of

     38.   Section 1B1. 5 explains that a cross-reference refers to

     the entire offense guideline, including special offense



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     characteristics.

                  The base offense level for Count Six is 38.         Because

     he was convicted under 18 U. S. Code Section 1956 (a) (1) (B) ,

     there's an increase of two levels, pursuant to Section

     2S1. 1 (b) (2) (B) .

                  Now, the special offense characteristics involve

     Mr. Braun's role as an organizer or leader of a criminal

     activity that involved five or more participants or was

     otherwise extensive.      He played an aggravating role as an

     organizer or leader, and there's an increase of four levels

     for the money laundering offense.        Count Six's adjusted

     offense level is, therefore, 44.

                  Under Application Note 6 of Section 2S1. 1 and

     Section 3D1. 2 (c) , Counts One and Six are closely related and

     should be grouped.      Section 3D1. 3 states that the offense

     level applicable to counts grouped together pursuant to

     Section 3D1. 2 (c) is the offense level for the most serious of

     the counts in the group; that is, the highest offense level.

     The combined group offense level for the Defendant's

     conviction is 44 based on the Count Six offense level.

                  Because Mr. Braun demonstrated acceptance of

     responsibility for his offense, I will grant him a three-level

     reduction under Guidelines 3E1 . 1 (a) through 3E1. 1 (b) .      Under

     Section 3D1. 5, this adjustment applies to the combined offense

     level.



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                 And although not explicitly stated, the presentence

     report appears to have calculated the combined offense level

     as 42 based on the import conspiracy charge and applied the

     acceptance of responsibility adjustment to that number rather

     than the combined offense level of 44.         So, they made an

     error, I believe.      The combined offense level of 44 is based

     on the money laundering charge.

                 The Court applies this adjustment to its

     independently calculated combined offense level of 44 based on

     the Count Six money laundering charge, and then I deduct three

     points from 44.     That results in a total offense level of 41.

                 Mr. Braun has no known prior arrests or convictions

     apart from the instance offense and, therefore, has a criminal

     history score of zero.      That results, under Chapter 5, Part A,

     of the Guidelines and a Criminal History Category of I.

                 The sentencing options are as follows:         For Count

     One, the maximum statutory sentence is life, the minimum

     imprisonment is ten years, 21 U. S. Code section 960 (b) (1) (G) ;

     for Count Six, the maximum term of imprisonment is 20 years

     and there is no minimum, U. S. Code Section 1956 (a) (1) (B) (1) .

                 The advisory guideline for a total offense level of

     41 and a Criminal History Category of I results in a guideline

     range of imprisonment between 324 months and 405 months.

                 The supervised release term for Count One is at

     least five years under 21 U. S. Code Section 960(b) (1) (G) .



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                 Now, the Court may determine that the Defendant has

     satisfied mitigating factors under the criminal code.            And if

     that is the case, the statutory minimum does not apply.            The

     Probation Department states also that in that instance, the

     Defendant would not be bound by the statutory minimum term of

     supervised release.

                 One of the factors that is considered under the

     criminal code, 3553, was whether or not the Defendant used

     violence or credible threats of violence, which is clear from

     the presentence report and not in dispute.          So, I'm not

     convinced that he qualifies under 3553 for the consideration.

                 The Government, if you want to be heard on this

     point, I'm happy to hear from you.

                 MR. HEEREN:    No, your Honor.

                 THE COURT:    There's no evidence that he didn't

     commit violence; is that correct?

                 MR. HEEREN:    That's right, your Honor.       There were

     threats of violence, I believe.

                 THE COURT:    Well, he whipped someone with a belt,

     right?

                 MR. HEEREN:    Right.

                 THE COURT:    That's an event of violence; would you

     agree?

                 MR. HEEREN:    Yes, your Honor.

                 THE COURT:    Count Six provides that I may impose a



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     term of supervised release of not more than three years, under

     18 U. S. Code Section 3583 (b) (2) .     Multiple terms of supervised

     release shall be imposed concurrently.         And as Mr. Braun was

     advised by Judge Pohorelsky during his plea hearing, the terms

     of custody may be imposed consecutively rather than

     concurrently.

                 The guidelines provide that the offense in Count One

     is Class A felony, so the guideline range for a term of

     supervised release is between three and five years under the

     Guideline 501. 2 (a) (1) .   Count Six provides that the offense is

     a Class C felony and, therefore, the guideline range of

     supervised release is between two and three years under

     Guideline 501. 2 (a) (2) .

                 There is no restitution as there are no identifiable

     victims in this case.

                 And under Count One, the drug trafficking charge,

     Mr. Braun is not eligible for probation because it is

     expressly precluded by law under 21 U. S. Code Section 960

      (b) (1 ) (G) and 18 United States Code 3561 (a) (2) .    And under the

     guidelines -- let me just talk about Count Six.

                 Count Six provides that Mr. Braun is ineligible

     under the criminal code for probation because he will be

     sentenced at the same time to a term of imprisonment for the

     same or different offense, and that's 18 U. S. Code 3561 (a) (3) .

     Multiple terms of probation would run concurrently, but that's



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     not applicable here because he is not eligible under the

     criminal code for probation.

                  Count One of the advisory guidelines would provide

     that because probation's expressly precluded by the criminal

     code, he cannot be given a sentence of probation under

     Guideline 5E1. 1 (b) (2) .    And for Count Six, he's not eligible

     for probation for the same reasons under Guideline

     5E1. 1 (b) (3) .

                  The fine provisions under the criminal code for

     Count One provide for a maximum fine of $10 million under 21

     U. S. Code Section 960 (b) (1) (G) .       And for Count Six, the

     maximum fine is $500, 000 under 18 U. S. Code Section

     1956(a) (1) (B) (i) .

                  The guidelines provide that for an offense level of

     41, the fine range for this offense is between $25, 000 and

     $250, 000, Guideline 5E1 . 2 (c) (3) .      The maximum fine in the

     guidelines does not apply if the Defendant is convicted under

     a statute allowing a maximum fine greater than $250, 000, which

     is the case in this instance both with regard to Count One and

     Count Six.

                  Judge Townes, my predecessor on this case,

     previously signed a preliminary order of forfeiture on

     April 9, 2013, in which Mr. Braun consented to forfeit the

     following.         This is cash that was seized from various stash

     houses or during arrests:         First, $477, 565 in United States



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     currency seized on May 11, 2009; $77, 000 in United States

     currency seized on May 26, 2010 from the Defendant's

     residence; $504, 100 in United States currency seized

     February 14, 2011, from multiple safety deposit boxes

     controlled by the Defendant; and $32, 500 in United States

     currency voluntary surrendered on April 1 , 2011.          These are

     collectively referred to as the forfeited assets.

                 On May 10, 201 9, the Government requested that I

     vacate the order of preliminary forfeiture because the assets

     had already been administratively forfeited by the Drug

     Enforcement Administration.

                 So, I grant that application and Judge Townes'

     previous order of forfeiture dated April 9, 2013, will be

     vacated, if it hasn't already been vacated.

                 The special assessment requires Mr. Braun pay $1 00

     on each count of conviction, for a total of $200.

                 I urge you to pay that immediately.

                 Mr. Braun, I'd like to advise you that you have the

     right to appeal your sentence.        Any appeal must be filed

     within 14 days of judgment being entered in your case.            If you

     cannot afford to pay the cost of an appeal, you may apply for

     relief to do so as a pauper.        I don't believe, based on the

     recent financial statement you submitted, again, without

     reference to your wife's assets, which are also substantial

     purportedly, based on the probation report, that you would



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     qualify to have the appellate fee waived.

                 But if you request the Clerk of Court to do so, he

     will file a notice of appeal on your behalf.            And I'd ask the

     Defendant's lawyer to please make sure that her client's

     appellate rights are protected if he choses to exercise those

     rights.

                 Now, I don't know whether there is any property that

     was seized from Mr. Braun at the time of his arrest and

     whether we have to address return of that property.

                 MR. HEEREN:       I'm not aware of any property that was

     seized at that time.      I   don't believe there's anything.

                 MS. CAPPELINO:       I agree, your Honor.

                 THE COURT:    To the extent he may have a passport of

     the United States or any other country

                 MR. HEEREN:       If there is, that would be in the

     possession of pretrial, I believe.          If not, I'll go back to

     the DEA and speak to them as well.

                 THE COURT:    Is there anything, Mr. Braun, that

     should be returned to you?

                 THE DEFENDANT:      No.

                 MS. CAPPELINO:      Just the passport, your Honor,

     nothing else.

                 THE COURT:    That's held until he finishes serving

     his entire sentence, including any supervised release.

                 Now, in addition to giving respectful consideration



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     to the advisory guidelines, which are no longer mandatory,

     I've also given consideration to the factors set forth in the

     criminal code, 18 U. S. Code Section 3553(a) .

                 I first considered the nature and circumstances of

     Mr. Braun's offense, and I find that his offenses are very

     serious.

                 And I understand the point made by one of his

     supporters that marijuana is no longer illegal in many states,

     but we don't have a situation -- Mr. Braun earlier had a legal

     medical marijuana business which he gave up in exchange for a

     high volume illegal marijuana trafficking organization.

                 Now, he entered a plea of guilty to Count One of the

     superseding indictment for a violation of 21 U. S. Code Section

     952(a) , which charged conspiracy to import large quantities of

     marijuana, in excess of 10, 000 kilograms.         Count One charges

     that between November 1, 2007, and May 26, 2010, Mr. Braun

     conspired with others to import marijuana into the United

     States from a place outside which involved 1, 000 kilograms or

     more of marijuana, in violation of 21 U. S. Code Section

     952(a) , 960(a) (1) , 963, and 960(b) (1) (G) .    The PSR reports

     that Mr. Braun trafficked more than $6 million of marijuana

     per week.

                 That is a lot of marijuana.       And, I would note, in

     excess of 10, 000 kilograms.

                 Mr. Braun also entered a plea of guilty to Count Six



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     of the superseding indictment for the violation of 18 U. S.

     Code Section 19569 (a) (1) (B) , which is a money laundering

     conspiracy, which charges that between November 1, 2007, and

     May 26, 2010, he conspired with others to conduct financial

     transactions affecting interstate and foreign commerce which

     involved the proceeds of narcotics trafficking.           And I've

     already reviewed the criminal code sections under Title 21

     that he violated in addition to 18 U. S. Code.

                 Mr. Braun conducted these transactions knowing that

     the property involved in the transactions represented proceeds

     of unlawful narcotics trafficking and intended to promote the

     carrying on of narcotics trafficking in violation of Section

     1956(a) (1) (A) (1) of Title 18.     He knew that the transactions

     were decide to conceal and disguise the nature, location,

     source, ownership, and control of the proceeds.

                 Count Six also charges that Mr. Braun also conspired

     with others to transport, transmit, and transfer monetary

     instruments and funds from a place within or outside the

     United States back and forth between the United States and

     Canada with the intent to promote the carrying on of his

     narcotics trafficking enterprise.        And he knew that the

     monetary instruments involved in this transportation,

     transmission, and transfer of funds represented the proceeds

     of unlawful activity.      And, again, this was done to evade

     reporting requirements.



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                 An investigation by the Drug Enforcement

     Administration and other law enforcement agencies revealed

     that Mr. Braun, along with others, orchestrated the

     importation of thousands of kilograms of marijuana via weekly

     shipments into the United States from Canada through Native

     American reservation, by boat, aircraft, and motor vehicle.

     Mr. Braun stipulated that he was responsible for over

     10, 000 kilograms of marijuana being imported and that his

     operation lasted for a period of over three years.

                 In May 2009, DEA agents raided a stash house in

     Staten I sland that was controlled by Mr. Braun and seized over

     600 pounds of marijuana and approximately $500, 000 in cash.

     Because of this raid, Mr. Braun fled to Israel and then to

     Canada, where he hid out for several months before returning

     to the United States.

                 While he was abroad -- and this is important --

     Mr. Braun continued to direct the operations of his drug

     organization by using encrypted cell phones to communicate

     with his associates and customers.         Throughout the operation,

     Mr. Braun personally negotiated with high level members of

     organized crime groups regarding the trafficking of marijuana.

                 Agents discovered that at the height of the drug

     conspiracy, Mr. Braun was trafficking more than $6 million

     worth of marijuana per week.        He was also responsible for

     laundering drug proceeds before the money was transported back



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     to Canada to maintain his suppliers.         The Government

     calculates that Mr. Braun was personally responsible for

     laundering roughly $14 million in drug proceeds.

                 Mr. Braun employed threats and the actual use of

     violence to collect drug debts and to deter fellow

     co-conspirators from cooperating with the Government.            For

     example, after a stash house in California was raided by law

     enforcement and had over $100, 000 worth of marijuana seized,

     Mr. Braun and a co-conspirator flew to California.           There, the

     co-conspirator held down the person who had been in control of

     the stash house while Mr. Braun whipped him with a belt and

     threatened this man with harm and also threatened his family's

     well-being if he did not repay the value of the marijuana.

                 Again, this is distinguishing him from many of the

     narcotics traffickers that appear before me:          One, his

     leadership role; two, the sophistication of the operation;

     and, three, the actual employment of violence and threats of

     violence against those he feared were either going to

     cooperate or who would lose assets, including the marijuana.

                 Second, I've also considered Mr. Braun's personal

     characteristics, family history, and circumstances.

                 Unlike many of these Defendants, Mr. Braun was born

     into a loving home.      His parents, Jacob and Helene Braun,

     raised him without want or need or deprivations.           They resided

     on Staten Island.      His father was a shoe sales manager and his



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     mother a first grade teacher.        They are aware of their son's

     arrest and conviction and remain supportive.

                 His older sister Michelle Schwartz is a pharmacist

     and his younger sister Shannon Miller is a teacher.           They are

     both married with children and they are both aware of their

     brother's arrest and speak very lovingly of their brother and

     remain supportive of him.

                 As I said, he grew up in an intact middle income

     household on Staten Island.       He had a happy childhood, free of

     neglect, abuse, or want.       He was raised in an Orthodox Jewish.

     He observed the Sabbath with his family every week.            He's very

     close to his family.

                 In January 201 4, Mr. Braun married Miriam Hurwitz

     she is employed as a merchant cash advance broker.           Mr. Braun

     describes is marriage as a happy one and states that he and

     his wife are supportive of one another.

                 As of March 2018, they had a three-year-old daughter

     and a one-year-old son and they were expecting the birth of a

     third child, who arrived in July 2018.         Their daughter

     participates in occupational and speech therapy and their son

     participates in early education programs to receive therapy

     for speech and motor skill development.

                 Mr. Braun's wife describes her husband as

     responsible and determined and a good person and a loving

     father.    She notes that he is involved in the children's lives



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     and says that she would not be able give them the life that

     they would like for their children if he is not present and

     able to provide financial assistance.         She refers to

     Mr. Braun's criminal activities as part of his old life from

     when he was young and she believes that he has changed his

     life.

                 Mr. Braun is in good health and he suffers from no

     ailments.     He was diagnosed as a child with attention deficit

     disorder and attention deficit hyperactivity disorder, but his

     parents opposed giving him medication for these conditions.

     He now treats these conditions with Adderall and Xanax.            He's

     never received mental health treatment, although he and his

     wife do participate in marital counseling for normal marital

     issues and stressor.      His wife reports that the counseling is

     going well.

                 Mr. Braun as a single glass of wine with his dinner

     on Friday nights.      He began smoking marijuana at age 14 and

     stopped shortly before his arrest.         He estimates that he

     smoked marijuana four times per week.         He also first used

     powder cocaine at the age of 17 and used cocaine two to three

     times per week, although he would occasionally go extended

     periods without using it at all.         The last time he used

     cocaine was just prior to his arrest.

                 From 2007 to 2009, Mr. Braun used MDMA three times

     per year and he tried Oxycodone once in his early twenties.



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     He did not use these drugs again.        Mr. Braun has been tested

     for drugs as part of his pretrial reporting requirements and

     no violation of his release has been detected based on the use

     of elicit drugs.

                 Mr. Braun attended high school in Brooklyn from 1998

     to 1999 but left to take early admission to the College of

     Staten Island.     He attended the College of Staten Island from

     2000 to 2002 but withdrew from school to open his own

     business.    He did obtain his New York State GED diploma in

     2002.

                 He worked at a cellular telephone store from 2000 to

     2002 and opened his own cell phone business in 2002.            The

     business operated until 2009, when he sold the business to an

     employee and moved to Los Angeles.         He invested the proceeds

     of his cell phone business in a medical marijuana dispensary,

     although he sold his share of the dispensary back to his

     business partner after nine months.

                 At this point, he began shipping quantities of

     marijuana from California to New York and eventually started

     to illegally import marijuana from Canada to New York.            He

     ceased this criminal conduct when he was arrested on May 26,

     2010.

                 He was released on bond on November 4, 2011, and he

     has attempted to start a business selling shoes online and

     over the phone between November 2011 and March 201 3.           He then



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     spent three months working as a senior funding specialist for

     a small business financing firm.         From July 2013 to

     December 2013, he was employed as a senior funding specialist,

     director of sales and marketing, at a business that provided

     private financing to other businesses.         Then starting in

     December 2013, he back working as a manager/risk analyst for

     his current employer, which facilitates private lending to

     small businesses.

                  As I noted and we discussed previously, I received

     anonymous reports of very serious allegations regarding

     Mr. Braun's behavior in this business and his relationship to

     the business.     There's, again, anonymous reports that he has

     an interest in the business.        His wife, I believe, also works

     in a similar but not the same business.            And a recently filed

     lawsuit in Richmond County alleges that he physically attacked

     someone in July of 2018 by pushing him off a one-story deck at

     an engagement party.

                  Finally, another lawsuit, in Dutchess County,

     alleges that he threatened physical violence and reputational

     harm against a person from whom the Defendant was attempting

     to collect a debt in October 2017 to December 2017 and

     June 2018.

                  Mr. Braun requests that I sentence him below the

     guideline, to a sentence of ten years imprisonment, which is

     the statutory mandatory minimum required by Count One.            The



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     Government, which notes the total offense level estimated at

     the plea hearing was two levels lower than the offense level

     calculated in the PSR, does not object to the Court's

     consideration of the guidelines estimate range that was

     calculated at the plea hearing for purposes of sentencing.

                  Now, the plea hearing revealed a guideline range of

     sentence between 210 to 262 months, as opposed to the 262 to

     327 months suggested by the PSR.

                  The Government has also indicated that I may

     consider other factors in determining Mr. Braun's sentencing,

     including, as we know, the guidelines, which are not

     mandatory.    So, I may sentence Mr. Braun to a sentence below

     the advisory guidelines.

                  Now, the Court independently calculated Mr. Braun's

     advisory guideline level and offense levels.          My calculation

     of level 41 and Criminal History Category I resulted in a rage

     of sentence between 324 months and 405 months.           This is,

     again, even higher than that estimated at the plea hearing and

     that calculated by the Probation Department, given that I

     think the PSR mistakenly didn't use the highest offense level

     in Count Six.

                  I've taken into consideration the Government's

     position regarding the authorized and unopposed sentencing

     options as well as the defense request for a ten-year

     sentence, which is the mandatory minimum sentence and well



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     below the advisory guidelines sentence.

                  After giving respectful consideration to the

     advisory guidelines and all of the factors set forth in

     1B U. S. Code 3553(a) , I will impose a sentence that falls

     below the advisory guideline range for Count One and

     Count Six.

                  In light of all of the circumstances of this case,

     Mr. Braun has demonstrated a desire to lead a law-abiding

     life.     Although Mr. Braun's crimes are very serious, he's not

     been charged with other crimes in the years since he was

     released on bond.

                  There was a report of an arrest or a situation where

     he was driving without -- is it driving on a suspended license

     or -- he was driving and his license had been suspended

     because of the failure to pay some traffic ticket, which was

     cleared up, and that is not something that I considered an

     issue for sentencing purposes.

                  I note that he has a family, he has young children,

     two of whom may require special therapy for speech and other

     issues.     The owner of the business where Mr. Braun works

     reports that he works very long hours; over twelve hours a day

     at times.     His wife also reports that he tries to put the

     children to bed on a regular basis and that he drops them off

     at school every day.      I understand that he's important to his

     parents and his nieces and nephews and his siblings and his



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     many friends.

                 Based on the all of the foregoing and because of

     Mr. Braun's role in this offense, which, again, distinguishes

     him from many others who appear before me, given his role in

     this offense and the use of violence, the fact that there was

     sophisticated means employed, and in light of the defense

     request for a mandatory ten-year sentence and the large

     disparity between mandatory the ten-year sentence and the

     sentencing guidelines, which would impose a very onerous

     sentence, I believe a below-guideline sentence is warranted.

                 I 'm going to sentence Mr. Braun to the mandatory

     ten-year sentence on Count One and three years on Count Six.

     These sentences will be served not consecutively but, rather,

     concurrently.     He was in custody for one year and five months,

     from May 26, 2010, to November 4, 2011.            He will receive

     credit for that time previously served against his sentence

     that was imposed today.

                 With regard to supervised release, he will serve

     fire years for Count One and three years for Count Six.

     That's a total of five years since those sentences will be

     served concurrently.

                 Mr. Braun will submit his person, property, house,

     residence, vehicle, papers, computers that he uses at home or

     in his business, other electronic communications and devices

     and data storage devices or media, his office, and other



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     places that he occupies to a search condition by a United

     States Probation Officer.       Failure to submit to this condition

     will be grounds for revocation of supervised release.

                  You must advise any other occupants that their

     premises may be subject to searches pursuant to this

     condition.    An officer may conduct a search pursuant to this

     condition only when the officer has reasonable suspicion that

     Mr. Braun has violated a condition of his supervision and that

     the areas to be searched contain evidence of the violation.

     Any search must be conducted in a reasonable time and in a

     reasonable manner.

                  Mr. Braun must comply with the fine that I will be

     imposing.    You must pay that fine immediately; and if not

     immediately, interest will accrue and you will pay it pursuant

     to the schedule that I will impose.

                  Upon request, Mr. Braun must provide the U. S.

     Probation Department with truthful and complete disclosure of

     all of his financial records, including comingled income,

     expenses, assets, and liabilities, and include yearly tax

     returns; federal, state, and local.

                  With the exception of the financial accounts

     reported and noted within the presentence report and his sworn

     financial disclosure, he is prohibited from maintaining or

     opening any additional individual or joint checking, savings,

     or other financial accounts in his name or the names of any



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     obligees.    And this applies to any personal or business

     purpose.    He must first disclose and seek approval from and

     obtain approval from a United States Probation Officer.

                 He must cooperate with Probation in the

     investigation of his financial dealings and shall provide

     truthful monthly statements of his income and expenses.            If

     he's going to declare expenses for the family, then he must

     also declare income and assets of the family, including his

     wife.    Mr. Braun shall cooperate in the signing of any

     necessary authorizations to release information which would

     permit the U. S. Probation Department to access his financial

     records.

                 All financial disclosures are subject to penalties

     of perjury and any false statements to Probation or the

     Government will also result in separate criminal charges if he

     does not disclose truthfully the extent of his assets, and

     that additional criminal conduct would be grounds to violate

     or revoke supervised release.

                 I will not impose restitution given that the

     Government has not identified any victims.

                 The forfeiture has already been effected by the Drug

     Enforcement Administration.

                 Mr. Braun shall pay a $100, 000 fine, which is due

     and payable immediately.       If he cannot pay that immediately,

     he shall pay it at a minimum rate of ten percent of his gross



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     monthly income while he is on supervised release or -- I'm,

     sorry let me start over.

                 He must pay it at the rate of 10 percent of his

     gross monthly income or $25 per quarter while he is in

     custody, whichever is greater.        He has an opportunity to earn

     money while in custody.

                 Starting on the first day of the first month of his

     release, Mr. Braun shall continue his payments at the minimum

     monthly rate of at least $2, 500 per month or 15 percent of his

     gross monthly income after deductions required by law, which

     ever is greater.

                 When I say "deductions required by law, " I mean

     federal, state, or local income taxes, as well as Social

     Security and federal unemployment taxes.            Whatever is left, he

     pays the greater of 15 percent of that or $2, 500 per month.

                 He must also pay immediately a $200 mandatory

     special assessment in the amount of -- for each of Counts One

     and Six.    So, $100 on each count total $200 in mandatory

     special assessments.

                 In addition, is the Government prepared to dismiss

     Counts Two to Five?

                 MR. HEEREN:    Yes, your Honor.         Before we do so, just

     for the record, I want to understand, the Court's

     consideration includes the consideration of the Government's

     motion contained in its sealed letter as well?



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                 I believe that's the case, I just want to make sure

     that's clear.

                 THE COURT:    Absolutely, I did consider it.

                 MS. CAPPELINO:     Actually, your Honor, if I could

     just add, I know we had some supplemental submission, and I am

     sorry, I think your Honor mentioned this at the beginning, but

     we submitted something June 13, 2018, and I believe that was

     received.

                 THE COURT:    Yes, we did review that as well.

                 MS. CAPPELINO:     Thank you.

                 I know this is probably a disappointment for

     Mr. Braun's family members who asked, basically, for leniency,

     which I think under the guidelines and given the other

     considerations it is.       It doesn't seem like a lenient

     sentence, but I considered all of the factors that were

     provided and before me.

                 I think we should discuss a surrender date, if not

     immediately.     Between now and the date he surrenders, he

     should be wearing a home monitoring or home detention

     electronic monitoring, given evidence in the presentence

     report that he previously fled from justice and generated a

     lot of money that I don't think the Government has fully

     accounted for.

                 And, so, we can talk about a surrender date, but it

     would be subject to the conditions imposed when he was



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     released on bond, which required home incarceration with

     location monitoring except leave permitted by Probation for

     court appearances, attorney visits, medical appointments.             Or

     if there's a regular work schedule, that can be accommodated.

                  MR. HEEREN:    Your Honor, I think you had asked me a

     moment ago if we had anything to dismiss.          We do.

                  The Government dismisses the remaining counts in the

     underlying indictment at this time.

                  THE COURT:    Counts Two through Five of the

     superseding indictment and the underlying indictment will be

     dismissed.

                  MR. HEEREN:    Thank you, your Honor.

                  THE COURT:    So, let's talk about a surrender date.

     Generally, the BOP takes six weeks to designate somebody.             He

     can self-surrender or I can order that he surrender here to

     the marshals and they can transport him to the facility.

                  MR. HEEREN:    Your Honor, in light of the Defendant's

     significant time being out of custody, and, with some

     exceptions, largely complying with his conditions, the

     Government doesn't object, provided the conditions that the

     Court announced, if he prefers a surrender date.            The

     Government has no objection to that.

                  THE COURT:    All right.

                  MS. CAPPELINO:    Your Honor, we request a

     self-surrender date in three months.



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                 THE COURT:    May I be told why such a long period of

     time is necessary?

                 Usually it's six to eight weeks.

                 MS. CAPPELINO:     So Mr. Braun can get his employment

     situation and his family's situation under control and he can

     set up accordingly in terms of those factors, we request 90

     days or -- whatever the Court would prefer, but 90 days would

     be ideal.

                 THE COURT:    That's the end of August?

                 MS. CAPPELINO:     Yes, your Honor.

                 THE COURT:    August 25?

                 MS. CAPPELINO:     That's fine, your Honor.      Thank you.

                 THE COURT:    And he'll self-surrender or does he want

     to surrender here?

                 THE DEFENDANT:     I'll self-surrender.

                 MS. CAPPELINO:     He'll self-surrender to the

     designation, your Honor.

                 THE COURT:    I'll ask defense counsel to confirm

     Mr. Braun has surrendered to the facility on August 25.            I

     think it's before 2: 00 p. m. or noon.

                 Would he prefer that I recommend a designated

     facility?

                 MS. CAPPELINO:     Anything within the tri-state area,

     your Honor, as close as possible facility.

                 THE COURT:    I will recommend a facility that will



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     make it more convenient for family visits.

                 MS. CAPPELINO:     Thank you, your Honor.

                 THE COURT:    Is there anything else I need to address

     before we adjourn?

                 MR. HEEREN:    Nothing from the Government, your

     Honor.

                 MS. CAPPELINO:     Nothing from the defense.

                 THE COURT:    All right.      Thank you.

                 MR. HEEREN:    Thank you, your Honor.

                 MS. CAPPELINO:     Thank you.

                 THE COURT:    I s the pretrial services officer

     present?

                 THE DEFENDANT:     They asked that I go there after

     this.

                 THE COURT:    Defense counsel, accompany Mr. Braun to

     the pretrial services office so he can get set up with

     location monitoring?

                 MS. CAPPELINO:     Certainly.

                  (Matter concluded. )



     I certify that the foregoing is a correct transcript from the

     record of proceedings in the above-entitled matter.



              lsI Linda A. Marino                       May 29, 2019

                LINDA A. MARINO                             DATE



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                         EXHIBIT D
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                                         UNITED STATES DISTRICT COURT
                                         EASTERN DISTRICT OF NEW YORK

                                         -   -    -    -   -   X


      UNITED STATES OF AMERICA,                                          10-CR-433(KAM)




                       -against-                                         United States Courthouse
                                                                         Brooklyn, New York



      JONATHAN BRAUN,                                                    Tuesday, May 28,   2019
                                                                         10:00 a.m.
                            Defendant.




       -   -   -   -    -    -   -   -   -   -    -    -   - x


           TRANSCRIPT OF CRIMINAL CAUSE FOR MOTION TO SEAL COURTROOM
                    BEFORE THE HONORABLE KIYO A. MATSUMOTO
                       UNITED STATES DISTRICT COURT JUDGE

                                                 A P P E A R A N C E S:

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     Proceedings recorded by mechanical stenography, transcript
     produced by Computer-Aided Transcription.




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 1               THE COURTROOM DEPUTY:            This is criminal cause for A

 2   motion to seal the courtroom,          Docket 10-CR-433, USA v.

 3   Jonathan Braun.

 4               Will the Government's attorney state your

 5   appearance, please?

 6               MR. HEEREN:    Good morning, your Honor.            Craig Heeren

 7   on behalf of the United States.

 8               THE COURT:    Good morning.

 9               THE COURTROOM DEPUTY:            And Defendant?

10               MS. CAPPELLINO:       Good morning,        your Honor.    Anjelica

11   Cappellino on behalf of Jonathan Braun.

12               THE COURT:    Good morning.

13               Good morning, Mr. Braun.

14               THE DEFENDANT:       Good morning.

15               THE COURT:    Sir,    do you have any difficulty speaking

16   or understanding English?

17               THE DEFENDANT:       No,   none.

18               THE COURT:    We are here preliminarily to address the

19   defense motion for courtroom closure during his sentencing.

20   And in support of that application,            Mr. Braun,   through

21   counsel,   has submitted a letter and also exhibits,            which I've

22   reviewed.

23               Now,   I note that the issue of courtroom closure is

24   one that the Second Circuit has addressed previously.

25   Generally, the Court has recognized,            as we should,   the




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 1   public's right to access pursuant to the First Amendment.                And

 2   the Second Circuit has cautioned that closure and the power to

 3   close a courtroom where proceedings are being conducted during

 4   the course of a criminal prosecution is one to be very seldom

 5   exercised and,     even then,   only with the greatest of caution

 6   and under urgent circumstances for very clear and apparent

 7   reasons.

 8               Now,   the Government has submitted a response in

 9   which they indicate that it has neither requested permission

10   from the Deputy Attorney General, which is required in order

11   to close the courtroom,      it has not sought nor attained

12   permission and sets forth its reasons why it does not believe

13   that closure is warranted.

14               First,   I must consider what substantial possibility

15   of prejudice may exist to either the Defendant, the

16   Government,   or a third party.      The types of examples include

17   the Defendant's right to a fair trial,         which is not at issue

18   here;   the privacy interests of the Defendant,         victims,   or

19   other persons.

20               Again,   I make note that every Defendant who comes

21   before the Court has privacy interests,         but,   nonetheless,     our

22   system of jurisprudence requires an open courtroom for most,

23   if not all,   matters except,    as we said,    under the most

24   compelling circumstances.

25               I must also consider the integrity of significant




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 1   Government activities,       such as an ongoing undercover

 2   investigation or detection devices or other matters which may

 3   pose dangers to the investigation or other people.               That is

 4   not an issue here.

 5                  And I must also consider the need to protect grand

 6   jury secrecy or ongoing investigations.               Those types of

 7   concerns are not present in the application.              We don't have a

 8   danger of alerting potential targets to investigations or

 9   causing witnesses to become reluctant to testify or to expose

10   innocent folks or folks under investigation to public

11   embarrassment before the Government has concluded the

12   investigation.

13                  So,   with regard to the first prong of substantial

14   probability of prejudice,        I don't find that the Defendant

15   seeking this closure has established a sufficient probability

16   of prejudice.        I understand that the attachments to the letter

17   may have raised concern on the part of Mr. Braun and his

18   family members;       however,   the Government has indicated that it

19   does not see any connection between those matters and

20   Mr. Braun's status here as a Defendant.

21                  I will note that there does appear to be a fair

22   number of folks,       based on the anonymous letters that I've

23   received and the media coverage,           who have issues with

24   Mr.   Braun,    who have felt that he has mistreated them or has

25   treated them harshly or has done things that some of these




                                          OCR        RPR
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                                    Proceedings                                   5



 1   letter writers claim are illegal in terms of threatening

 2   behavior.

 3                The Government has looked into this?

 4                MR. HEEREN:    Yes,   your Honor.

 5                THE COURT:    This financial type of situation and has

 6   not found that -- well,     we can address this later,          I guess,

 7   during the sentencing.       Let me just leave it there.

 8                I think that some of those if not all of the texts

 9   indicate that there are a number of people who dislike

10   Mr. Braun.     And I'm not prepared to find that there's any

11   connection necessarily to this case but,           rather,    just to his

12   activities in the community since he was released on bail.

13                So,   even though I need not find whether there are

14   reasonable alternatives to closure because I haven't found

15   that Mr. Braun has satisfied the first prejudice prong,                 again,

16   balancing the public right of access and the need to ensure

17   that our court proceedings are open,        I don't find that there's

18   any lesser alternative other than,        obviously,    during

19   sentencing the parties will be discreet about what they may

20   say in an open courtroom,      bearing in mind that I've read every

21   single submission,      both letters of support for Mr. Braun and

22   these anonymous letters from detractors,           which,    frankly,    raise

23   very serious concerns.       But you can't do something with an

24   anonymous complaint.       And just based on the font used in the

25   letters,    it appears they may be written by the same person.




                                         OCR      RPR
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                                         Proceedings                               6



 1               But those letters also list a number of other

 2   possible avenues of investigation,           and I'm trusting that the

 3   Government has done what it needs to do to ensure that there

 4   are no ongoing criminal activities and that Mr. Braun's safety

 5   is not in jeopardy.

 6               MR. HEEREN:       Yes,    your Honor.

 7               THE COURT:       So,    in giving balance to the concerns

 8   raised by Mr. Braun,        and I'm saying that I understand very

 9   well why he has those concerns,           and the First Amendment right

10   of public access to court proceedings, I find that the balance

11   tips in favor of public access.

12               So,   that being said,       I respectfully deny the request

13   to close the courtroom.            I do know that when the Government

14   feels that there is the basis to seek closure,                they do so,

15   although they do it sparingly.            And these are not applications

16   that I take lightly;        I take them very seriously.

17               So,   that being said,       I will,    as I said,    respectfully

18   deny the application to close the courtroom,                and I've

19   previously granted the applications to seal the applications

20   in support of the closure.

21               Is there anything I else I should address at this

22   time?

23               MS. CAPPELLINO:          No, your Honor.       Thank you.

24               MR.   HEEREN:     No,    your Honor.     Thank you.

25               THE COURT:       Just bear in mind,          if I did close the




                                 LAM        OCR         RPR
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                                      Proceedings                                          7



 1   courtroom it would mean everyone has to leave except

 2   Mr. Braun.    And the Defendant has the right to have friends

 3   and supporters here during his sentencing,                       and I would want to

 4   make sure that he has that support.

 5                We were scheduled to commence the sentencing at I

 6   believe it was 11;       is that right?

 7                MR. HEEREN:     Yes,       your Honor.

 8                THE COURT:     But if everybody is here,                  perhaps we can

 9   move forward.

10                MR. HEEREN:     It's fine with the Government.

11                MS. CAPPELLINO:        Certainly.

12                THE COURT:     Do you want to take a few minutes?

13                MS. CAPPELLINO:        I don't think so your Honor.                  We're

14   ready.

15                THE COURT:     All right.

16

17                ( Matter   concluded. )

18

19
                                         *   *    *    *   *




20

21   I certify that the foregoing is a correct transcript from the

22   record of proceedings in the above-entitled matter.

23

24            lsI Linda A. Marino                                    May 29 ,   2019

25              LINDA A. MARINO                                          DATE




                                LAM              OCR           RPR
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                         EXHIBIT E
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    Defendants in U.S. v.   Sentence                  Count
    Cournoyer, 12-CR-65
    (SLT)
    Jimmy Cournoyer         27 years’ imprisonment    Continuing Crimnal
                                                      Enterprise (top count)
    Mario Racine            Time served               Conspiracy to Import MJ
    Bobby Gelebi            Time served               Conspiracy to Distribute
    Jose Castillo-Medina    Time Served               Conspiracy to import MJ,
                                                      Conspiracy to distribute,
                                                      money laundering
    Patrick Paisse          48 months’ imprisonment   Conspiracy to import
    Alessandro Taloni       10 years’ imprisonment    Conspiracy to extort;
                                                      distribute
    John Taschetti          20 months’ imprisonment   Conspiracy to distribute
                                                      MJ
    Yousef Trig             Pending
    John Venizelos          11 years’ imprisonment    Conspiracy to Distribute
                                                      MJ
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    Sentenced Defendants in Sentence
    U.S. v. Curatola, 10-CR-
    991
    Dominick Curatola        60 months’ imprisonment   Conspiracy to distribute
                                                       MJ – 21 U.S.C.
                                                       841(b)(1)(B); importation
    German Chajchic
    Michael Decresenzo       60 months’ imprisonment   Conspiracy to distribute
                                                       MJ – 21 U.S.C.
                                                       841(b)(1)(B)
    Jose Castillo-Medina     21 months’ imprisonment   Conspiracy to distribute
                                                       MJ – 21 U.S.C.
                                                       841(b)(1)(B)
    Elizabeth Jennings
    Steven Martin
    Kerry Iasparra
    Brian Sullivan           27 months’ imprisonment   Conspiracy to distribute
                                                       MJ – 21 U.S.C.
                                                       841(b)(1)(B);
    Gregory Ballin           3 years’ probation        Conspiracy to distribute
                                                       MJ – 21 U.S.C.
                                                       841(b)(1)(B)
    Eric Preimer             21 months’ imprisonment   Conspiracy to distribute
                                                       MJ – 21 U.S.C.
                                                       841(b)(1)(B)
    Michael Bradley          Time served               Conspiracy to distribute
                                                       MJ – 21 U.S.C.
                                                       841(b)(1)(B)
    Joseph Campo             3 years’ probation        Conspiracy to distribute
                                                       MJ – 21 U.S.C.
                                                       841(b)(1)(B)
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    Sentenced Defendants in U.S. v.    Sentence Imposed
    Square, et al., 08-CR-916 (SLT)
    Sean Barilko                       70 months’ imprisonment
    Walter Baus                        Time served
    Benny Benedict                     Time served
    Brittany Benedict                  3 years probation
    Jean Beneat                        Time served
    Floyd Bingham                      Time served
    Lois Joy Boots                     Time served
    Grover Brink                       1 year and 1 day imprisonment
    Driton Camaj                       Time served
    Martin Camaj                       36 months’ probation
    Nick Camaj                         Time served
    Joseph Chicarelli                  5 years’ probation
    Katie Cook                         Time served
    Denise Cook                        Time served
    Clyde Cree                         Pending
    Kenneth Cree                       Time served
    David Cruz                         70 months’ imprisonment
    Enis Djurcovic                     28 years’ imprisonment
    Reed Drumm                         Time served
    Michael Fields                     12 months’ and one day imprisonment
    Guy Gantz                          Time served (53 months)
    Scott General                      15 months’ imprisonment
    Jonathan Goldfried                 18 months’ imprisonment
    George Iordan                      Time served
    Kim Ki Joo                         3 years probation
    Andrew Kagan                       3 years probation
    Jonathan Kaye                      Time served
    Mersim Kolenovic                   Time Served
    Tara Lazore                        3 years probation
    Thomas Lazore                      15 months’ imprisonment
    John Marinos                       32 months’ imprisonment
    Arnold Mason                       Pending
    Derrick Maultsby                   12 months’ imprisonment
    Mihail Mesitidis                   Pending
    Robert Moore                       46 months’ imprisonment
    Robin Oakes                        Time served
    Wentenhawi Oakes                   Time served
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    Slobodan Pavicevic                 24 months’ imprisonment
    Harun Pejcinovic                   4 years’ probation
    Dennis Quinones                    36 months’ probation
    Carmelo Ruiz                       33 months imprisonment
    Louis Russo                        24 months’ imprisonment
    Joseph Scavetti                    Time served
    Bruce Schultz                      Time served
    Gentian Shkurti                    24 months imprisonment
    Mitchell Smoke                     60 months’ imprisonment
    David Square                       Time served
    Randolph Square                    Time served (CCE)
    David Sunday                       Time served – CCE – 168-210 months’
                                       guidelines range (safety valve eligible)
    Nicholas Sunday                    Time served
    Oren Sunday                        Pending
    Samantha Thompson                  Pending
    Darren Weingrow                    Time served
    Anthony Zingarelli                 Time served
